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                           IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF KANSAS


United States of America,

                       Plaintiff/Respondent,

v.                                                          Case No. 03-20013-01-JWL
                                                                       04-3378-JWL
                                                                       04-3381-JWL
Donald L. Johnson, Jr. ,

                       Defendant/Petitioner.


                                    MEMORANDUM & ORDER

       The court recently denied the petitioner’s motions to vacate pursuant to 28 U.S.C. § 2255

and also denied the petitioner’s subsequent motion for reconsideration or, in the alternative, for

a certificate of appealability.   He now moves the court for leave to proceed with his appeal in

forma pauperis.     The motion is denied without prejudice because the petitioner has failed to

comply with the applicable statute and federal rule relating to proceeding in forma pauperis.

Specifically, 28 U.S.C. § 1915(a)(1) requires him to submit an affidavit “that includes a statement

of all assets such [person] possesses that the person is unable to pay such fees or give security

therefor. Such affidavit shall state the nature of the action, defense or appeal and affiant’s belief

that the person is entitled to redress.” See Lister v. Dep’t of Treasury, 408 F.3d 1309, 1312

(10th Cir. 2005).     In addition, Federal Rule of Appellate Procedure 24(a)(1) requires that the

affidavit show not only the petitioner’s inability to pay and his claim of entitlement to redress but

also “the issues that the party intends to present on appeal.”   See Fed. R. App. P. 24(a)(1). The

petitioner, then, may refile his motion for leave to proceed with his appeal in forma pauperis at
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the time he submits an affidavit in compliance with these rules.




        IT IS THEREFORE ORDERED BY THE COURT that Mr. Johnson’s motion for leave

to proceed in forma pauperis (doc. 269) is denied without prejudice.




        IT IS SO ORDERED this 30th day of November, 2005.




                                                           s/ John W. Lungstrum
                                                           John W. Lungstrum
                                                           United States District Judge




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